 1   SCOTT R SMITH, WSBA #14159
 2   Bohrnsen Stocker Smith Luciani Adamson PLLC
 3   312 W Sprague Avenue
 4
     Spokane, WA 99201
     Telephone (509) 327-2500
 5
     Facsimile (509) 327-3504
 6   ssmith@bsslslawfirm.com
 7
 8   Attorneys for The McGregor Company
 9
10                     UNITED STATES BANKRUPTCY COURT
11                  FOR THE EASTERN DISTRICT OF WASHINGTON
12
13
     In Re:                                       Chapter 11
14   EASTERDAY RANCHES, INC.,                     Lead Case No. 21-00141-WLH11
15                                                Jointly Administered
                                 Debtor.
16
                                                  REQUEST FOR NOTICE
17
18
19            To:        The Clerk of the Bankruptcy Court
20
              And To:    Debtor, Easterday Ranches, Inc., and your attorneys, Thomas A
21
                         Buford, Richard B Keeton, and Armand J Kornfeld
22
23            The McGregor Company, a Washington corporation, a Creditor in the
24
25   above-captioned case, hereby requests that the undersigned be added to the Court’s
26
27   master mailing list, and that copies of all applications, motions, petitions, requests,
28
29
     adversary proceedings, complaints, orders, and other pleadings, together with all
30
     notices related thereto, whether transmitted or conveyed by mail, hand delivery,
31
     telephone, electronic transmission, facsimile or otherwise, filed or served by the

     REQUEST FOR NOTICE - 1




     21-00141-WLH11      Doc 109    Filed 02/10/21   Entered 02/10/21 15:13:09    Pg 1 of 4
 1   above-named debtor, any trustee appointed in the above-captioned case, the United
 2
 3   States Trustee, any creditor or other party-in-interest, whether under Bankruptcy
 4
     Rule 2002 or otherwise, be served upon the attorneys for The McGregor Company
 5
 6   as follows:
 7
 8                 Scott R Smith
 9                 Bohrnsen Stocker Smith Luciani Adamson PLLC
10                 312 W Sprague Avenue
11                 Spokane, WA 99201
12                 Ph (509) 327-2500
13
                   Fax (509) 327-3504
                   E-mail ssmith@bsslslawfirm.com
14
15
16         This Request for Notice is intended as a special appearance for the purpose
17
     of notice only.
18
19
           DATED this 10th day of February, 2021.
20
21                                         BOHRNSEN STOCKER SMITH
22                                         LUCIANI ADAMSON PLLC
23
24
25                                         /s/ Scott R Smith
26
                                           SCOTT R SMITH
                                           Attorney for The McGregor Company
27
28
29
30
31



     REQUEST FOR NOTICE - 2




     21-00141-WLH11      Doc 109   Filed 02/10/21   Entered 02/10/21 15:13:09   Pg 2 of 4
 1                            CERTIFICATE OF SERVICE
 2
 3          I hereby certify that on the 10th day of February, 2021, I filed the foregoing
 4
     electronically through the CM/ECF System, which caused the following parties or
     counsel to be served by electronic means, as more fully reflected on the Notice of
 5
     Electronic Filing:
 6
 7   Matt Adamson madamson@jpclaw.com; twaggoner@jpclaw.com;
 8   kchapman@jpclaw.com
 9
10   Jason M Ayres     jason.ayres@foster.com; kesarah.rhine@foster.com
11
     Roger William Bailey roger.bailey.attorney@gmail.com;
12
     diane.pearson.bblawfirm@gmail.com; brooke.maloney.bblawfirm@gmail.com
13
14   Gregory C Bowers Charley.Bowers@rettiglaw.com;
15   caroline.fergen@rettiglaw.com
16
17   William Brunnquell      brunnquellw@lanepowell.com
18
     Thomas A Buford      tbuford@bskd.com; psutton@bskd.com; vbraxton@bskd.com;
19
     mbeck@bskd.com
20
21   Joshua J Busey joshua.busey.attorney@gmail.com;
22   diane.pearson.bblawfirm@gmail.com; brooke.maloney.bblawfirm@gmail.com
23
24   Grant E Courtney      courtneylaw@comcast.net
25
     Gary W Dyer      Gary.W.Dyer@usdoj.gov
26
27   Jennifer K Faubion     jfaubion@cairncross.com; gglosser@cairncross.com
28
29   Gregory R Fox FoxG@Lanepowell.com; norbya@lanepowell.com; Docketing-
30   Sea@lanepowell.com
31
     David P Gardner      dpg@winstoncashatt.com


     REQUEST FOR NOTICE - 3




     21-00141-WLH11      Doc 109   Filed 02/10/21   Entered 02/10/21 15:13:09   Pg 3 of 4
 1   Nancy L Isserlis nli@winstoncashatt.com; jlm@winstoncashatt.com;
 2   azh@winstoncashatt.com
 3
     Richard B Keeton rkeeton@bskd.com; gdowning@pszjlaw.com;
 4
     bdowning@pszjlaw.com; plabov@pszjlaw.com; jrosell@pszjlaw.com;
 5   psutton@bskd.com; vbraxton@bskd.com; mbeck@bskd.com
 6
 7   Armand J Kornfeld jkornfeld@bskd.com; chartung@bskd.com;
 8   psutton@bskd.com; vbraxton@bskd.com; mbeck@bskd.com
 9
     Paul M Larson                    paul@lbplaw.com; tammy@lbplaw.com
10
11   David H Leigh                   dleigh@rqn.com; swilliams@rqn.com; docket@rqn.com
12
13   Michael J Paukert                      mpaukert@pt-law.com
14
15   Trevor R Pincock                      tpincock@lukins.com; mlove@lukins.com
16
     John R Rizzardi JRizzardi@cairncross.com; rwang@cairncross.com;
17
     tnguyen@cairncross.com; jrizzardi@ecf.courtdrive.com;
18   TNguyen@ecf.courtdrive.com; rwang@ecf.courtdrive.com;
19   pdurland@cairncross.com; pdurland@ecf.com; AMasundire@cairncross.com
20
21   Steven H Sackmann                         steve@sackmannlaw.com; sackmannlaw@hotmail.com
22
     Tara J. Schleicher                     tara.schleicher@foster.com; kesarah.rhine@foster.com
23
24   Alan D Smith adsmith@perkinscoie.com; bcosman@perkinscoie.com;
25   gordon.mcgrath@tyson.com
26
27   Claire Taylor                 claire.taylor@stokeslaw.com; aek@stokeslaw.com
28
29
     US Trustee                USTP.REGION18.SP.ECF@usdoj.gov
30
                                                                             /s/ Scott R Smith
31
                                                                             SCOTT R SMITH
                                                                             Attorney for The McGregor Company
     R:\McGregorCompany\Easterday Ranches\pleadings\Request for Notice.doc

     REQUEST FOR NOTICE - 4




     21-00141-WLH11                     Doc 109            Filed 02/10/21          Entered 02/10/21 15:13:09   Pg 4 of 4
